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                            IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

             IN RE;                                      Chapter 13 Proceeding
             Mark A. Carmolingo, Sr.
             Karen L, Carmolingo                         14.17449-jkf
                                         Dcbtor(s)

             Mark A. Carmolingo, Sr.
             Karen L. Carmolingo
                                    Plaintiff
                                    V.
             Wells Fargo Bank, NA
                                         Defendant


               ORDER APPROVING. STIPULATION AND DETERMINING DEBT NON-
                          DlSqWARGABLE UNDER II U.S.C §523



            AND NOW,, this/AJdas
                         this^day of  of .                    ^ . 2016, the
                                                                          i Stipulation Resolving
            Debtors' Objectiwi to the Wells Fargo Bank, NA's Proof of Claim ^ Wells
            Objection to Confirrnation is hereby approved by the <




                                                      (XS.fS I
